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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

OSVALDO ROJAS,                                    §
         PLAINTIFF,                               §
V.                                                § CASE NO. 3:19-CV-1712-B-BK
                                                  §
MEGAMEX FOODS, LLC/DON                            §
MIGUEL FOODS,                                     §
          DEFENDANT.                              §

    ORDER ACCEPTING THE FINDINGS, CONCLUSIONS AND
RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       United States Magistrate Judge Renée Harris Toliver made findings, conclusions and a

recommendation in this case. No objections were filed. The Court reviewed the proposed findings,

conclusions and recommendation for plain error. Finding none, the Court accepts the Findings,

Conclusions and Recommendation of the United States Magistrate Judge. Accordingly, Defendant’s

motion, Doc. 18, is GRANTED.

       Plaintiff’s retaliation, section 1981, and discrimination claims under chapter 21 of the

TCHRA are DISMISSED WITH PREJUDICE. Plaintiff’s origin discrimination, hostile work

environment, and defamation claims are DISMISSED WITHOUT PREJUDICE.

       Within 14 days of this Order, Plaintiff may file an amended complaint as to his origin

discrimination, hostile work environment, and defamation claims only, if desired. However, if

Plaintiff fails to do so or the amended complaint does not cure the deficiencies outlined in the

magistrate judge’s report, Plaintiff’s origin discrimination, hostile work environment, and defamation

claims will be DISMISSED WITH PREJUDICE.
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SO ORDERED this 30th day of June, 2020.



                                          _________________________________
                                          JANE J. BOYLE
                                          UNITED STATES DISTRICT JUDGE
